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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
       v.                                 :       Criminal No. 21-cr-178-APM
                                          :
PETER SCHWARTZ,                           :
                                          :
                      Defendant.          :       Trial: November 22, 2022

      UNITED STATES’ RESPONSE TO DEFENDANT PETER SCHWARTZ’S
                SUPPLEMENT TO MOTION TO SUPPRESS

       In a supplement to his suppression motion (ECF No. 149), Defendant Peter J.

Schwartz contends that law enforcement violated his Fifth Amendment right against self-

incrimination when (as authorized by the search warrant) an agent obtained Schwartz’s

fingerprint to unlock his cell phone. That contention lacks merit. Because the agent’s action

did not compel a testimonial communication, the Fifth Amendment privilege is not

implicated and does not provide a basis to grant Schwartz’s motion to suppress.

                                   Factual Background 1

       On February 4, 2021, FBI agents executed an arrest warrant at Schwartz’s home in

Uniontown, Pennsylvania. Agents arrested and handcuffed Schwartz, placed him into a law-

enforcement vehicle, and advised him of rights under Miranda v. Arizona, 384 U.S. 436 (1966).



       1
         The government’s factual summary incorporates the testimony of FBI Special Agent
Michael Nealon at the evidentiary hearing on October 21, 2022 and the eight exhibits
admitted during that hearing: the arrest-warrant return for Schwartz (Ex. 1); the search
warrant for Schwartz’s residence, including for digital devices, signed on February 4, 2021
(Ex. 2); a diagram of Schwartz’s residence (Ex. 3); a photograph of the dresser on which
Schwartz’s phone was found (Ex. 4); a close-up photograph of Schwartz’s phone (Ex. 5);
Schwartz’s phone (Ex. 6); the evidence-collection log (Ex. 7); and the second search warrant
for Schwartz’s devices and associated affidavit, signed on September 16, 2021 (Ex. 8).

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Schwartz verbally agreed to speak to agents without a lawyer present.              During that

conversation, Schwartz discussed his presence at the U.S. Capitol on January 6, 2021.

       Agents also conducted a warrant-authorized search of Schwartz’s home. The warrant,

issued by a magistrate judge in the Western District of Pennsylvania, authorized agents to

seize Schwartz’s communication and digital devices. See Ex. 2 (Att. B. ¶¶ 1m, 8, 9). The

warrant further authorized “law enforcement personnel … to obtain from Schwartz … the

compelled display of any physical biometric characteristics (such as fingerprint/thumbprint,

facial characteristics, or iris display) necessary to unlock any Device(s) requiring such

biometric access subject to seizure pursuant to this warrant.” Id. (Att. B. ¶ 9) (capitalization

omitted).

       During the search, agents seized a black Samsung phone on a bedroom dresser.

Consistent with the warrant, Agent Nealon approached Schwartz as he spoke to another

agent and asked Schwartz for the password to his phone. 2 In response, Schwartz voluntarily

provided three passwords, none of which allowed Agent Nealon to open the phone. (Agents

memorialized these passwords on the scene.) Schwartz then continued the interview.

       The agent conducting the questioning then confronted Schwartz with photographs of

Schwartz at the U.S. Capitol. At that juncture, Schwartz asked for an attorney. The agent

terminated the interview and left the vehicle.

       Around the same time, Agent Nealon returned to the vehicle for the purpose of

obtaining Schwartz’s fingerprint to open the phone. In this setting, Agent Nealon’s usual

practice involves approaching the individual with the phone and asking that person to unlock


       2
        Agent Solomon (who questioned Schwartz) does not recall the precise point in the
conversation when Agent Nealon approached but is certain that it occurred after Schwartz
was advised of his Miranda rights.
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the phone by offering to get any phone numbers or other information he or she may need.

Nealon believed he followed this practice with Schwartz. Schwartz then used his fingerprint

to open the phone. 3 Agents conducted a cursory search of the phone and photographed text

messages on the phone related to Schwartz’s presence at the U.S. Capitol on January 6.

       After the initial on-scene search, the FBI did not conduct an immediate forensic

extraction of the phone’s contents; it was instead placed into evidence. In September 2021,

out of an abundance of caution, the FBI sought a second warrant authorizing the search of

Schwartz’s phone. The warrant affidavit described the seizure of the phone on February 4,

2021, explained that it was initially unlocked using Schwartz’s fingerprint, and included

screenshots of specific text message seen in the initial cursory search of the phone. Ex. 8 (Aff.

¶¶ 30-41).

       After Magistrate Judge Faruqui signed this search warrant, the phone was transferred

to Special Agent Ryan Lamb with the FBI Computer Analysis Response Team for the forensic

extraction. Although Agent Nealon had initially unlocked the phone on February 4, 2021

using Schwartz’s fingerprint, the phone had again locked. Upon receiving the phone, Lamb

successfully utilized one of the passwords provided by Schwartz to Nealon on February 4 to

unlock the phone.     Although Nealon had been unable to open the phone with those

passwords, Lamb did so with a different combination of lowercase and capital letters. Lamb

then completed the forensic extraction of Schwartz’s phone.

       On August 30, 2022, Schwartz filed a motion to suppress, claiming that law

enforcement had neither a warrant nor consent to search the defendant’s phone. The



       3
         Agents Nealon and Solomon could not recall whether this interaction occurred before
or after Schwartz requested an attorney.

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government opposed the motion on the grounds that there was a valid warrant to seize and

search the phone and the warrant specifically permitted the compelled display of biometric data

to open the phone. Following an evidentiary hearing on October 21, 2021, Schwartz raised

an additional ground for suppression. He argued that, even if permitted by the warrant, the

compelled use of his fingerprint to open his phone violated his Fifth Amendment privilege

against self-incrimination because biometric data is “testimonial” in nature. 4

                                          Argument

       The Court should reject Schwartz’s contention that the compelled use of his fingerprint

to open his cell phone (as authorized by the search warrant) violated his Fifth Amendment

privilege against self-incrimination. Because this fingerprint collection did not involve a

testimonial act, it did not implicate the privilege. Independent of that question, suppression

of the phone’s contents would be inappropriate because the FBI acted in good faith and the

forensic examiner had an independent source for accessing the phone’s contents.

A.     The FBI agent’s collection of Schwartz’s fingerprint did not violate the Fifth
       Amendment privilege.

       The Fifth Amendment provides that “[n]o person … shall be compelled in any

criminal case to be a witness against himself.” U.S. Const. Amend. V. “The word ‘witness’

in the constitutional text limits the relevant category of compelled incriminating

communications to those that are ‘testimonial’ in character.” United States v. Hubbell, 530 U.S.

27, 34 (2000). As the Supreme Court has explained, “there is a significant difference between




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        In his supplemental filing, Schwartz raises additional factual issues that were not
presented in his initial motion and, thus, not addressed during the evidentiary hearing. If the
Court deems it necessary to reopen the evidentiary hearing, the government will call
additional witnesses to address the newly raised factual issues.
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the use of compulsion to extort communications from a defendant and compelling a person

to engage in conduct that may be incriminating.” Id. at 34-35.

       Following that principle, “[i]t has long been held that the compelled display of

identifiable physical characteristics infringes no interest protected by the privilege against

compulsory self-incrimination.”      United States v. Dionisio, 410 U.S. 1, 5-6 (1973).   The

government may accordingly “compel[]” “a criminal suspect … to put on a shirt, to provide

a blood sample or handwriting exemplar, or to make a recording of his voice”

notwithstanding the fact that “the act may provide incriminating evidence” against him.

Hubbell, 530 U.S. at 35 (footnotes omitted). The reason is simple. “[T]he act of exhibiting

such physical characteristics is not the same as a sworn communication by a witness that

relates either express or implied assertions of fact or belief.” Id.

       The same is true here: “the [Fifth Amendment] privilege offers no protection against

compulsion to submit to fingerprinting.”        Dionisio, 410 U.S. at 6 (quoting Schmerber v.

California, 384 U.S. 757, 764 (1966)) (brackets omitted). Requiring a suspect to display his

fingerprint, just like requiring the suspect “to use his voice,” involves only the compelled

display of “an identifying physical characteristic.” United States v. Wade, 388 U.S. 218, 222-

223 (1967). And compulsion of “an identifying physical characteristic … is outside [the Fifth

Amendment privilege’s] protection.” Gilbert v. California, 388 U.S. 263, 267 (1967).

       The D.C. Circuit has recognized the same distinction: “The Fifth Amendment

privilege bars only compelling testimonial communications from an accused, not making the

accused a source of physical evidence.” Kaemmerling v. Lappin, 553 F.3d 669, 685 (D.C. Cir.

2008). “[C]ompulsion which operates upon the mind by forcing the accused to communicate

information or testimony” thus trenches on the privilege; “compulsion which merely requires


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him to produce his body for inspection” does not. United States v. Hubbell, 167 F.3d 552, 573

(D.C. Cir. 1999). For that reason, the D.C. Circuit has long held that compelling a suspect’s

“exposure to view, like fingerprinting …, is not proscribed.” Kennedy v. United States, 353 F.2d

462, 466 (D.C. Cir. 1965) (emphasis added).

       These decisions resolve the present dispute.        The FBI agent’s action requiring

Schwartz’s production of his fingerprint did not implicate the Fifth Amendment because the

agent’s action involved no compelled testimonial act by Schwartz. “[I]t required no act of will

on his part as to what he would communicate.” Hubbell, 167 F.3d at 574.

       In response, Schwartz asserts (ECF No. 149, at 6) that the use of his fingerprint was

testimonial because the successful scan confirmed that “he d[id] in fact possess this cellular

device and that the contents of said device c[ould] be attributed to him.” That contention

lacks merit. An act is “testimonial” when it involves a “communication by a witness that

relates either express or implied assertions of fact or belief.” Hubbell, 530 U.S. at 35. But

forcing a suspect to “exhibit[] … physical characteristics” like fingerprints does not compel

the suspect to divulge the contents of his mind. Ibid.

       Of course, the FBI agent’s compelled production of Schwartz’s fingerprint generated

an incriminating fact—namely, confirmation that Schwartz possessed and used the phone.

But the same can be said of compelling a suspect to put on a shirt to see whether it fits him,

to provide a blood sample to see whether it matches stains on the murder weapon, or to

provide a handwriting exemplar to see if it matches the signature on a bank check. These

compelled displays “may provide incriminating evidence” regarding the suspect’s possession

or control over the shirt, weapon, or bank check, but the Supreme Court has held that they




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are not “testimonial” for purposes of the Fifth Amendment privilege. Hubbell, 530 U.S. at

34–35. The same is true here.

       Schwartz further cites (ECF No. 149, at 5-6) two out-of-circuit magistrate orders and

one district court decision holding that the compelled production of a fingerprint or other

biometric feature constitutes a testimonial act. See United States v. Wright, 431 F. Supp. 3d

1175, 1187-88 (D. Nev. 2020); Matter of Residence in Oakland, California, 354 F. Supp. 3d 1010,

1015-1016 (N.D. Cal. 2019); In re Application for a Search Warrant, 236 F. Supp. 3d 1066, 1073

(N.D. Ill. 2017). None is persuasive. The Northern District of California and District of

Nevada decisions cannot be squared with extant Ninth Circuit authority. See Commonwealth

of N. Mariana Islands v. Bowie, 243 F.3d 1109, 1120 n.5 (9th Cir. 2001) (“Requests by the

prosecution for … fingerprint evidence from a defendant or a suspect are not prohibited by

the Fifth Amendment right against self-incrimination because such evidence is not testimonial

in nature.”). 5 And the district court subsequently reviewed and rejected the magistrate judge’s

ruling in the Northern District of Illinois case. See In re Search Warrant Application, 279 F.

Supp. 3d 800, 804 (N.D. Ill. 2017) (“The application of the fingerprint to the sensor is simply

the seizure of a physical characteristic, and the fingerprint by itself does not communicate

anything.”). In any event, these decisions do not bind this Court and cannot circumvent the

case law cataloged above. 6



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         The government challenged these holdings as incorrect, but the reviewing courts
found it unnecessary to address the Fifth Amendment dispute. See United States v. Wright,
2022 WL 67341 (9th Cir. Jan. 6, 2022); In re Search of a Residence in Oakland, California, 2019
WL 6716356 (N.D. Cal. Dec. 10, 2019).
       6
         Schwartz separately criticizes (ECF No. 149, at 7) Magistrate Judge Harvey’s
decision in this District holding that “the government’s compelled use of the Subject’s
biometric features in order to decrypt the contents of the Subject Devices will not require the
Subject to make any use of the contents of his mind.” In re Search of [Redacted] Washington,
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       Applying that authority leaves only one conclusion: the compelled production of

Schwartz’s fingerprint in this case was a non-testimonial act and did not trigger the Fifth

Amendment privilege.

B.     The good-faith exception and the independent-source doctrine separately prohibit
       suppression.

       Even if the compelled production of Schwartz’s fingerprint violated the Fifth

Amendment, the good-faith exception and the independent-source doctrine foreclose

application of the exclusionary rule to that violation.

       1.     The exclusionary rule is a “‘judicially created remedy”’ that is “designed to

deter police misconduct.” United States v. Leon, 468 U.S. 897, 906, 916 (1984) (citation

omitted). The Supreme Court has explained that in order to justify suppression, a case must

involve police conduct that is “sufficiently deliberate that exclusion can meaningfully deter it,

and sufficiently culpable that such deterrence is worth the price paid by the justice system” in

suppressing evidence. Herring v. United States, 555 U.S. 135, 144 (2009); see Davis v. United

States, 564 U.S. 229, 236-239 (2011).

       To that end, a search conducted in objectively reasonable reliance on a prior precedent

of the governing court of appeals is “not subject to the exclusionary rule,” even if that

precedent is subsequently overturned, because “suppression would do nothing to deter police

misconduct in these circumstances, and because it would come at a high cost to both the truth

and the public safety.” Davis, 564 U.S. at 232.

       That is precisely what occurred here. The FBI obtained a warrant authorizing the

seizure and search of phones discovered at Schwartz’s residence in Uniontown, Pennsylvania.



DC, 317 F. Supp. 3d 523, 538 (D.D.C. 2018); For the reasons explained above, Judge
Harvey’s decision reflects a correct application of Fifth Amendment case law.
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The authorization included the compelled production of Schwartz’s fingerprint to obtain

access to any phone. In the Third Circuit, both at the time of the search and today, “the

obtaining of fingerprints does not violate the privilege against self incrimination.” Beightol v.

Kunowski, 486 F.2d 293, 294 (3d Cir. 1973); see also United States v. Carvajal-Garcia, 54 F. App'x

732, 739 (3d Cir. 2002) (“[F]ingerprints are nontestimonial evidence.”). Because the FBI

agents’ conduct in compelling Schwartz’s fingerprint conformed to appellate precedent, the

exclusionary rule does not apply.

       That is doubly true in this case because the FBI agents did not act unilaterally. They

instead obtained a warrant from a magistrate judge in the Western District of Pennsylvania

authorizing them to compel Schwartz’s production of his fingerprint. See Ex. 2 (Att. B. ¶ 9).

And later, the FBI presented a search-warrant application in this District that fully disclosed

the fingerprint production and requested authorization to conduct a forensic extraction of the

phone. See Ex. 8 (Aff. ¶ 33). Magistrate Judge Faruqui issued a warrant authorizing that

search. “There was … nothing more that [FBI agents] could have or should have done under

these circumstances to be sure [their] search would be legal.” United States v. McClain, 444

F.3d 556, 566 (6th Cir. 2005) (internal quotation marks and citation omitted); see id.

(observing that the warrant affidavit fully disclosed the circumstances surrounding the

disputed initial warrantless search to a neutral and detached magistrate). These good-faith

efforts to obtain judicial authorization for the compelled fingerprint production and for the

forensic search of Schwartz’s phone preclude application of the exclusionary rule in this case.

       2.      Under the independent-source doctrine, evidence seized pursuant to a search

warrant may be admissible even when that evidence was previously discovered during an

illegal search.   See Murray v. United States, 487 U.S. 533, 536-541 (1988).          When law


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enforcement officers have an independent source for challenged evidence, this doctrine

ensures that they are placed in no worse a position than if the unlawful conduct had not

occurred. Id at 537; see Utah v. Strieff, 579 U.S. 232, 238 (2016) (“[T]he independent source

doctrine allows trial courts to admit evidence obtained in an unlawful search if officers

independently acquired it from a separate, independent source.”).

         In this case, FBI agents initially unlocked Schwartz’s phone using his fingerprint in

February 2021. Even if that action trenched on the Fifth Amendment privilege, a different

FBI agent accessed Schwartz’s phone in August 2021 and forensically extracted its contents.

Critically, this agent did not use Schwartz’s fingerprint. The agent instead attempted different

variations of the passwords that Schwartz disclosed to agents in the voluntary custodial

interview shortly after his arrest; one of those variations successfully unlocked Schwartz’s

phone.     As a consequence, the August 2021 warrant-authorized search of the phone

constituted an independent source for the contents stored within it.            Suppression is

accordingly unwarranted.




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                                         Conclusion

       For these reasons, the use of Schwartz’s fingerprints to unlock the cell phone, as

authorized by the search warrant, did not implicate his Fifth Amendment rights and does not

warrant suppression of the phone’s contents.

                                          Respectfully submitted,

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